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                                 THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF PUERTO RICO



                                                                       CASENO. 11-04305-BKT
 JORGE ALBERTO CRUZ ROLON
                                                                       CHAPTER      13
 DEBTOR



              DEBTOR'S MOTION IN COMPLIANCE WITH ORDER, DOCKET #35,
                  AND REQUEST FOR ADDITIONAL EXTENSION OF TIME

 TO THE HONORABLE COURT:

          NOW COMES, JORGE ALBERTO CRUZ ROLON, debtor in the above captioned                               case,

 through the undersigned attorney, and very respectfully states and prays as follows:

          1   .   Before the Court there is a motion to dismiss filed by the Chapter 1 3 Trustee, docket #3 3 ,

 and debtor's reply, docket #34.

          2. On June 18, 2015, this Honorable Court granted the debtor twenty-one (21) days to file

 evidence ofbeing current, docket #35.

          3. The debtor hereby respectfully informs the Court that on July 9,        20l5,he made a $120.00

 partial payment to the Trustee. Attached is copy of evidence of said payment.

          4. However, the debtor respectfully informs that due to certain economic problems he was not

 able to cure the total amount in arears owed to the Plan, within the period of time granted by the

 Court.

          5. The debtor respectfully submits to this Honorable Court that on July        15   ,2015 ,he will pay

 the current balance owed in arears in the amount of $130.00, to cure any and all confirmed plan

 payrnent arrears.

          6. Therefore, the debtor respectfully requests an additional seven (7) days in order to file

 evidence of curing the Plan arrears, which extension of time to expire on July 16,2015.
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         WHEREFORE, the debtor requests this Honorable Court grant the present motion and grant

 the requested additional extension of time, in the above captioned case.

         I CERTIFY         that on this same date a copy of this motion was filed with the Clerk of the

 Court using the CM/ECF filing system which will send notice of same to the CI\OECF participants,

 including the Chapter 13 Trustee; I also certify that acopy ofthis motion was sent via US Mail to the

 debtor to his address ofrecord.

         RESPECTFULLY SUBMITTED. In                 San Juan, Puerto Rico, this 9ft day of Julv" 2015.




                                                  /s/ Robertg Figueroa Car{asquillo
                                                  ROBERTO FIGUEROA CARRASQUILLO
                                                  usDC #203614
                                                  ATTORNEY FOR PETITIONERS
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